                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                            )
UNITED STATES OF AMERICA                    )                   Docket No. 3:12-cr-139-FDW
                                            )
      v.                                    )
                                            )
VICTOR AURELIO GUERRA et al                 )
___________________________________________ )

                                            ORDER

       Upon consideration of the Motion of the United States of America, by and through the

United States Attorney for the Western District of North Carolina, and upon finding good cause for

the retention of the approximate 1442 kilograms of marijuana seized on April 17, 2012 in U.S.

Department of Homeland Security (DHS) case number CR13MR12CR0018, seizure number

2012230400032801,

       IT IS HEREBY ORDERED that the aforementioned marijuana be retained by DHS until

further Order of the Court.

       SO ORDERED

                                                Signed: June 4, 2012




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